             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:13-cr-00043-MR-DLH-6


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )                       ORDER
                                 )
                                 )
KEVIN VICKERS,                   )
                                 )
                   Defendant.    )
________________________________ )

     THIS MATTER is before the Court on Defendant Kevin Vickers’

Motion to Join Suppression Motion of Co-Defendant, Participate in

Evidentiary Hearing and Adopt All Applicable Facts [Doc. 85].

     For the reasons stated in the motion, and for good cause shown, the

Defendant’s motion is granted.

     IT IS, THEREFORE, ORDERED that the Defendant’s Motion [Doc.

85] is GRANTED.

     IT IS SO ORDERED.         Signed: October 1, 2013




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